PROB. 12

ease 2:02-@r-20135-Ssii1rraneni§ undermine 1 Of 509@@€51@@1135' `/M/`

 

for FILED B“f ,__ D.C.
WESTERN msTRICT oF TENNESSEE 05 AUG 214 PH 3: 15
THC.“F§L"S iii QOULD
U. S. A. vs. RoNALD TERRY pocket No. §Pt§

 

 

Petition on Probation and Supervised Release

COMES NOW Willie S. Williams Jr. , PROBATION OFFICER OF THE COURT
presenting an official report upon the conduct and attitude of Ronald Ter_r_v, who was placed on supervision
by the Honorable Samuel I-I. Mays, Jr., sitting in the Court at Memphis, Tennessee , on the_]t_h day of
February, ZOQ?;, Who fixed the period of supervision at three 131 years* , and imposed the general terms and
conditions theretofore adopted by the Court and also imposed Special Conditions and terms as follows:

 

l. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Ofiice for treatment of narcotic addiction or drug or alcohol dependency Which may include testing
for the detection of substance use or abuse. Further, the defendant shall be required to contribute to the costs
of services for such treatment not to exceed an amount determined reasonable by the Probation Oflicer.

2. The defendant shall participate as directed in a program of mental health treatment approved by the
Probation Ofiicer. Purther, the defendant shall be required to contribute to the costs of such services for such
treatment not to exceed an amount determined reasonable by the Probation Officer based on ability to pay or
availability of third party payment and in conformance With the Probation Offlce’s sliding scale for mental
health treatment services.
3. The defendant shall not possess any firearms or dangerous Weapons or explosives

* Effective Date of Supervision: June 14, 2004.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

(SEE ATTACHED)

PRAYING THAT THE COURT WILL ORI)ER that a WARRANT be issued for Ronald Terry to appear
before the Honorable Samuel H. Mays, Jr. to answer charges of Supervised Reiease violations

 

BOND:

ORDER OF COURT I declare under the penalty of perjury
that the foregoing is true and correct.

Considered d ordered this Wday Executed

of H\*B l'\$ , 205 and ordered filed on /Q¢_g,M 55 /‘?, 0?0‘0 ‘f>`/

 

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and made a p rt oft re ords in the above ` k
CaS€- sw ‘ " L--_ %&&§Hj
enior United tates Probation iiicer

U. S. District Judge Samuel H. Mays, Jr,
This document entered on the docket sheet in compliance Place: Memphis` TN
with sale 55 and/or sQ(b} Fsch on 2 f 23 , 0 5 @

 

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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

THE DEFENDANT VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall not commit another Federal, state, or local crime.

On June 2, 2005, Ronald Terry Was the subject of a traHic stop by the Tennessee Highway Patrol on Interstate-
40, near Camden, Tennessee. Mr. Terry presented an expired Tennessee Drivers License. There was also a
temporary tag on the back window and an old tag in the trunk of the vehicle he had been operating Mr. Terry
was arrested and transported to the Benton County Jail. He was charged with Driving on a Suspended Drivers
License, lmproper Lane Change, and Violation of the Registration Law. A Bench Warrant was issued in the
General Sessions Courts for Benton County Tennessee on August 17, 2005, after Mr. Terry failed to appear
for a Court hearing.

On July 27, 2005, Memphis Poiice Ofiicers, aRer responding to a residential shooting call, discovered a victim
who had been shot in the lower back. The victim was transported to the Regional Medical Center in critical
condition During an interview with investigating oiiicers at the hospital, the victim identified Ronald Terry
through a photo line-up as the person responsible for shooting him. On July 28, 2005, Mr. Terry was located
by police officers, taken into custody and charged with Criminal Attempt-First Degree Murder. Mr. Terry is
set for a Preliminary Hearing on September l, 2005, in Division 7 of the General Sessions Courts for Shelby
County Tennessee. He is presently in custody, with bond set at $2,000,000.0().

The defendant shall notify the Probation Officer within seventy-two (72) hours of being arrested or
questioned by a law enforcement officer.

Mr. Terry violated this condition by failing to report his June 2, 2005, arrest to the Probation OHicer within
the required seventy-two (72) hours.

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vioi_ATioN WoRKsHEET
1. Defendant Rona|d Terry (Address: 4118 C|audette Cove, Memphis, TN 3818)
2. Docket Number (Year-Sequence-Defendant No.) 2:020R20135-01
3. District!Office Western District of Tennessee (|Vlernphis)
4. Original Sentence Date d_§)__2__ l_QZ_ l _gggi_
month day year
{lf different than above}:

5. Original Districthft”loe

 

6. Origina| Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade w §751.1}:

Vio|ation{s[ Grade

’ New criminal conduct of Driving on a Suspended License, improper Lane Change, and Violation of the C
Registration Lew.

¢ New criminal conduct of Crimina| Attempt-First Degree Murder. A

 

o Failure to notify the Probation Oflioer of June 2. 2005 arrest within the required seventy-two (72) hours

 

 

 

B. Most Serious Grade of Violation (§e_e_ §7B1.1(b)) A

9. Criminal History Category (§_e_e §7B1.4(a)}74 ||

 

 

 

10. Range of imprisonment (W §7B1.4(a}) 15 - 21 months

 

18 USC §3583{e) authorizes a maximum sentence of 24 months
it. Sentencing Options for Grade B and C Viotations Only (Check the appropriate box):
{ } (a)if the minimum term of imprisonment determined under §731.4 (Term of lmprisonment) is at least one month but not more
than six monthsl §7B1.3(c)(‘l) provides sentencing options to imprisonment

{ } (b)!f the minimum term of imprisonment determined under §751.4 (Term of imprisonment) is more than six months but not
more than ten months, §'r'B‘l .3(0)(2) provides sentencing options to imprisonment

{X} (c)lf the minimum term of imprisonment determined under §7B‘l.4 (Term of lmprisonment) is more then ten months, no
sentencing options to imprisonment are available

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suibe 1400, Washington, D.C., 20004, Attention: Monitoring Unit

12.

13.

14.

15.

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Defendant Ronald Terry

 

Unsatis!ied Conditions of Origina| Sentence

List any restitution, tine, community confinement horne detention, or intermittent confinement previously imposed in connection with
the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {see §731 .3(d)}:

 

 

 

 

Restitution ($) NIA Community Conh`nement NIA
Fine ($) NIA Home Detention N/A
Other NIA intermittent Conlinernent NIA

 

 

Supervised Re|ease

if probation is to be revoked, determine the |ength, if any, of the term of supervised release according to the provisions of §§501.1-

1.3LS_€_@ §§7|31-3(9)(1)}-
Terrn: N/A to NIA years

 

ifsupervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment imposable upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon reiease from
imprisonment {§§§ 18 U.S.C. §3583(e) and §7B‘i .3(g)(2)}.

Period of supervised release to be served following release from imprisonment

Departure

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Offzcial Detention Adjustrnent {§_§g §7B1.3(e)}: months days

 

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:02-CR-20135 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Jennifer Lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

